Case 8:18-cv-01123-AG-KES Document 6 Filed 09/27/18 Page 1 of 1 Page ID #:25
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL
 Case No.      SACV 18-1123-AG(KESx)                               Date      September 27, 2018
 Title         TRACY UTTERBACH, ET AL v JEUNESSE, LLC, ET AL



 Present: The                 ANDREW J. GUILFORD, U.S. DISTRICT JUDGE
 Honorable
             Lisa Bredahl                           Not Present
             Deputy Clerk                    Court Reporter / Recorder               Tape No.
         Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
               Not Present                                         Not Present

 Proceedings:               [IN CHAMBERS] ORDER TO SHOW CAUSE RE
                            DISMISSAL FOR LACK OF PROSECUTION

The Court on its own motion, hereby ORDERS Plaintiff(s) to show cause in writing no later
than October 12, 2018, why this action should not be dismissed for lack of prosecution.
Alternatively, it will be a sufficient response to this OSC to file on or before that date one of the
following:

         •       A proof of proper service of the summons and complaint on Defendant(s);
         •       Papers properly seeking entry of default or a default judgment; or
         •       Answers or other filings by Defendant(s).

“If a defendant is not served within 90 days after the complaint is filed, the court—on motion
or on its own after notice to the plaintiff—must dismiss the action . . . .” Fed. R. Civ. P. 4(m).
And, if the action has not been diligently prosecuted, the Court may dismiss the action before
the expiration of such time.

Plaintiff(s) have the responsibility to respond promptly to orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time. See Fed. R. Civ. P.
1. Stipulations affecting the progress of the case must be approved by the Court. L.R. 7-1.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
plaintiff(s)’ response is due. Plaintiff shall move this case forward or it will be dismissed.
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                                                      Initials of Preparer
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